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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA


                                  CASE NO. 12-5044-SNOW



 UNITED STATES OF AMERICA,
                Plaintiff,

 vs.

 SCOTT MICHAEL WILLIAMS,
               Defendant.
                                           :

       DEFENDANT’S INVOCATION OF RIGHTS TO SILENCE AND COUNSEL

         The defendant named above does hereby invoke his rights to remain silent and to

 counsel with respect to any and all questioning or interrogation, regardless of the subject

 matter, including, but not limited to: matters that may bear on or relate to arrest, searches and

 seizures, bail, pretrial release or detention, evidence at trial, guilt or innocence, forfeitures;

 or that may be relevant to sentencing, enhanced punishments, factors applicable under the

 U.S. Sentencing Guidelines, restitution, immigration status or consequences resulting from

 arrest or conviction; appeals or other post-trial proceedings.

         The defendant requests that the U.S. Attorney ensure that this invocation of rights is

 honored, by forwarding a copy of it to all law enforcement agents, government officials, or

 employees associated with the investigation of any matters relating to the defendant. Any
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 contact with the defendant must be made through the defendant’s lawyer, undersigned

 counsel.

                                                                         Respectfully submitted,

                                                                         MICHAEL CARUSO
                                                                         FEDERAL PUBLIC DEFENDER


                                                             By: s/ Daryl E. Wilcox
                                                                    Daryl E. Wilcox
                                                                    Assistant Federal Public Defender
                                                                    Florida Bar No. 838845
                                                                    One E. Broward Boulevard, Suite 1100
                                                                    Fort Lauderdale, FL 33301-1842
                                                                    (954) 356-7436
                                                                    (954) 356-7556, Fax
                                                                    Daryl Wilcox@FD.org

                                                   CERTIFICATE OF SERVICE

             I HEREBY certify that on December 12, 2012, I electronically filed the foregoing

 document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

 document is being served this day on all counsel of record or pro se parties identified on the

 attached Service List in the manner specified, either via transmission of Notices of Electronic

 Filing generated by CM/ECF or in some other authorized manner for those counsel or parties

 who are not authorized to receive electronically Notices of Electronic Filing.



                                                                         By: s/ Daryl E. Wilcox
                                                                                Daryl E. Wilcox
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                                    SERVICE LIST
                UNITED STATES v. SCOTT MICHAEL WILLIAMS
                             CASE NO. 12-5044-SNOW
               United States District Court, Southern District of Florida


 Michael J. Garofola, Esq.                     Daryl E. Wilcox, Esq.
 michael.j.garofola@usdoj.gov                  daryl_wilcox@fd.org
 Assistant United States Attorney              Assistant Federal Public Defender
 99 NE 4th Street                              One E. Broward Boulevard, Suite 1100
 Miami, FL 33132-2111                          Fort Lauderdale, FL 33301-1842
 305-961-9151                                  954-356-7436
 305-530-7976, fax                             954-356-7556, fax
 Attorney for the Government                   Attorney for Scott Michael Williams
 Notices of Electronic Filing                  Notices of Electronic Filing




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